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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                    CASE NO. 19-CR-20674-DPG

   UNITED STATES OF AMERICA,

          Plaintiff,

   v.

   BORIS ARENCIBIA

         Defendant.
   _________________________________/

               DEFENDANT’S RESPONSE TO GOVERNMENT’S MOTION TO
               RESCHEDULE DETENTION HEARING SET FOR MAY 23, 2024

          Defendant, BORIS ARENCIBIA (“Mr. Arencibia”), through undersigned counsel files his

   response to the Government’s Motion to Reschedule Hearing [DE 932] and states:

          The Government’s motion to reschedule raises three reasons as its basis to reschedule the

   detention hearing set by Judge Louis: (1) Special Agent Janelle Rudie’s unavailability on the 23 rd

   and 24th; (2) the need to now question inmate Oswaldo Gonzalez who the Government has known

   about since on or about April 17, 2024, and (3) the Government’s alleged inability to complete its

   analysis of the call records obtained from the jail cellphone, which the Government has had in its

   possession since March 8, 2024. None of the reasons set forth by the Government warrant

   rescheduling the detention hearing.

          First, Special Agent Rudie was at the hearing on May 14. Although A.U.S.A. Tamen was

   available until 4:00 p.m., the Government sought a continuance and the evidentiary hearing

   concluded at 3:15 p.m. The Government had the opportunity, and should have, presented or

   proffered Agent Rudie’s testimony at that time. Second, the confession of Oswaldo Gonzalez has

   undoubtedly been known to the Government and, nevertheless, BOP would have had to interview


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   Gonzalez after receiving the confession to confirm it was a voluntary and truthful confession

   before removing Mr. Arencibia back to general population. Notably, Mr. Arencibia was placed in

   the general population within twelve hours of the FDC receiving the confession. Additionally,

   Inmate Gonzalez was still in the district until late April, early May. Finally, the cell phone was

   provided to the FBI on March 13, 2024, who did not issue subpoenas for the allegedly crucial

   evidence until April 19, 2024. See Government Subpoena to providers attached hereto as Exhibit

   A. The Government has been in possession of the phone since March 8, 2024. See DE 914. The

   Government’s inaction is not a basis for resetting Mr. Arencibia’s detention hearing.

                                          FACTS/TIMELINE

          The jail cellphone was seized by FDC-Miami on March 8, 2024, see DE at 914 at 6, and

   turned over to the FBI on March 13, 2024. See Id. at 7.

          Mr. Arencibia filed his Motion to Reopen Detention Hearing Pursuant to 18 U.S.C.

   §3142(f)(2) on March 15, 2024. DE 910.

          The Government responded on March 25, 2024, and argued, among other things, that FDC

   officers confiscated a cellphone from the cell where Mr. Arencibia was assigned and attached a

   copy of FDC’s report and communications between A.U.S.A. Frank Tamen and BOP about the

   cellphone and its discovery. DE 914.

          On March 29, 2024, the Court set Defendant’s Motion to Reopen the Detention Hearing

   for May 14, 2024. See DE 916.

          On April 2, 2024, the undersigned contacted BOP and advised that Mr. Arencibia had been

   in the SHU for over 21 days and that BOP failed to comply with BOP regulations1 since Mr.



   1
     Under BOP Regulations, when an inmate is placed in the SHU for disciplinary segregation
   status as a sanction for committing a prohibited act, internal disciplinary reviews are conducted
   at seven and thirty days. See 28 CFR §541.26. The inmate may attend the initial seven-day
                                                    2
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   Arencibia “was not present at the [seven] day review[,] assuming it occurred.” See Email from

   Frank Quintero, Jr. to BOP Legal Liaison dated April 2, 2024, attached hereto as Exhibit B.

          On April 17, 2024, while visiting Mr. Arencibia in the SHU, he provided an original

   handwritten confession from inmate Oswaldo Gonzalez, a copy of which was turned over

   immediately to Lieutenant Rodriguez who was the supervisor in the SHU and who provided a copy

   to his supervisor, Captain Taylor. Id.

          By April 18, 2024, within twenty-four hours of providing the evidence to Lt. Rodriguez,

   the undersigned was advised that Mr. Arencibia was taken out of the SHU and returned to the

   general population. Mr. Arencibia would not have been returned to the SHU without BOP

   investigating the evidence provided and confirming its authenticity. Id.

          Despite having the cellphone since on or about March 13, 2024, the Government did not

   request any phone data until April 19, 2024, over thirty days after they obtained the phone. See

   Exhibit A.

          At issue for the May 14, 2024, hearing, was Mr. Arencibia’s lack of involvement in the

   Santa Maria Music Festival as raised by the Defense and the seized cellphone, which the

   Government posits establishes Mr. Arencibia is a flight risk.

                                             ARGUMENT

          At the May 14th hearing, Mr. Arencibia presented the testimony of Hector Diaz, who

   corroborated Mr. Arencibia’s position that he had no involvement in the Santa Maria Music

   Festival except to allow his artists to participate. A copy of Mr. Ortiz’s affidavit was attached to

   Mr. Arencibia’s Motion to Reopen the Detention Hearing as Exhibit C. See DE 910 (Exhibit C).



   review and, thereafter, the inmate’s records will be reviewed. See 28 CFR §541.26(b). After
   thirty days of continuous placement in disciplinary segregation status, the inmate’s status is
   reviewed at a hearing the inmate may attend. See 28 CFR §541.26(c).
                                                    3
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          Despite the amount of time that has elapsed since Mr. Arencibia filed his motion to reopen

   the detention hearing on March 14, 2024, and even though Special Agent Rudie was present at the

   continued detention hearing on May 14, 2024, the Government now for the first time maintains it

   has a confidential source and additional information to rebut the Defense evidence. The

   Government could have, and should have, proffered this evidence at the hearing, especially given

   the known conflicts in scheduling Special Agent Rudie. Instead, and even though it had at least

   forty-five minutes left to present its case, the Government sought a continuance. The fact that

   Special Agent Rudie, who was present at the detention hearing on May 14 th, is not available on

   May 23, 2024, should not be the basis to reset the hearing where, clearly, the information held by

   Special Agent Rudie as alleged in the Government’s Motion for Continuance was available to the

   Government on May 14, 2024.

          As another basis for resetting the May 23rd hearing, the Government argues that it was

   provided a written statement from inmate Oswaldo Gonzalez at the May 14th hearing. The Defense

   has no obligation to provide the Government with discovery prior to any hearing but, more

   importantly, it is inconceivable to believe, with all the communications between the FDC and

   A.U.S.A. Tamen, that the Government did not know about Inmate Gonzalez’s confession before

   the May 14th hearing. Nevertheless, the Government made the cellphone an issue in its March 25,

   2024, response to Mr. Arencibia’s Motion to Reopen the Detention hearing and was aware of

   Inmate Gonzalez’s involvement as evidenced in the FBI Chain of Custody Log attached to the

   Government’s Motion. See DE 914 at 7. The Government had every opportunity to question




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   inmate Gonzalez about the cellphone incident between March 7, 2024, and May 14, 2024.2

   Additionally, BOP would have likely questioned Inmate Gonzalez before transferring Mr.

   Arencibia from the SHU on April 18, 2024.

          As a final basis for resetting the May 23, 2024, hearing, the Government argues that it

   needs additional time to analyze the call records obtained from the jail cellphone. The reality is

   that the Government did not have these records at the May 14th hearing and did not even request

   these records until April 19, 2024, approximately thirty days after the cellphone was confiscated

   by FDC-Miami.

          The Government has not presented a reasonable basis to support its motion to reset Mr.

   Arencibia’s detention hearing. The undersigned has repeatedly advised A.U.S.A. Tamen and the

   Court that he will be starting a three-week trial in state court beginning May 28, 2024. Resetting

   the detention hearing would mean that Mr. Arencibia remains incarcerated for another month.

   There is a presumption favoring pretrial release, see United States v. Ingram, 415 F. Supp. 3d

   1072, 1077 (N.D. Fla. 2019) (“Liberty is the norm, and detention prior to trial or without trial is

   the carefully limited exception”) (citing United States v. Price, 773 F. 2d 1526, 1528 (11th Cir.

   1985) and, in this case, where Mr. Arencibia has presented unrebutted evidence to refute the

   finding that Mr. Arencibia was involved in organizing or promoting a music festival in Cuba,

   delaying Mr. Arencibia’s detention hearing is unduly prejudicial. See 18 U.S.C.

   §3142(f)(2)(requiring that “for good cause, a continuance on motion of [a defendant] may not




   2
     In fact, if the Government really wanted to interview Inmate Gonzalez, they would simply need
   to send a local agent to FMC Rochester where Inmate Gonzalez is located to interview him,
   write a report (FBI 302), and send the report to the agency in Miami. Conveniently, there is an
   FBI field office in Rochester, Minnesota, which is located at: 1301 Salem Road, Suite 200,
   Rochester, Minnesota, approximately fifteen minutes away. This can all be done in less than
   twenty-four hours.
                                                   5
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   exceed five days (not including any intermediate Saturday, Sunday, or legal holiday), and a

   continuance on motion of the attorney for the Government may not exceed three days (not

   including any intermediate Saturday, Sunday, or legal holiday”).

          WHEREFORE Defendant, BORIS ARENCIBIA, respectfully requests that this Honorable

   Court denies the Government’s Motion to Reschedule the Detention Hearing [DE 932] and proceed

   with the detention hearing as scheduled on May 23, 2024, and grant such other relief as the court

   deems appropriate.


                                  CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that on May 17, 2024, I electronically filed the foregoing

   document with the Clerk of the Court using CM/ECF.

                                                          Respectfully submitted,


                                                          QUINTERO BROCHE, P.A.
                                                          Attorneys for Boris Arencibia
                                                          75 Valencia Avenue, Suite 800
                                                          Coral Gables, Florida 33134
                                                          Tel: (305)446-0303
                                                          Fax: (305)446-4503

                                                          By: /s/ Frank Quintero, Jr.
                                                             FRANK QUINTERO, Jr.
                                                             FLORIDA BAR NO.: 399167




                                                  6
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            EXHIBIT A
      .Apr. 22. 2024-12:35 PM                               unclassified________________ No. 1500                      P. 1/5
                          U.S. DEPARTMENT
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                                               JUSTICE/FEDERAL
                                                      on FLSD Docket      OF INVESTIGATION
                                                                     05/17/2024
                                                                BUREAU          Page 8 of 15
FD-1035 (REV 2017-06-30)
                                                                       SUBPOENA
Subpoena number: 957324         When responding please reference this subpoena number.
In the matter of case numberfs): 245K-MM-113449-AdminSubpoenas________________________
TO:           Verizon wireless                                                TELEPHONE: 800-431-5242
              Attnr Custodian of Records
ADDRESS: 180 Washington Valley Road                                        FAX:                888-667-0028
_____________ Bedminster, NJ 07921_______________________________________________
GREETING;
By the service of this subpoena upon you by Matthew C Lanthorn, who is authorized to serve it, you are hereby commanded and
required to disclose to Matthew C Lanthorn, a representative of the FBI, the following information for the period 2024-01-01 to
 2024-04-19 or the billing cycle including the requested time period: Customer or subscriber name, address of
service, and billing address; Length of service (including start date and end date); Local and
long distance telephone connection records (examples include: incoming and outgoing calls,
push-to-talk, and SMS/MMS connection records); Means and source of payment (including any
credit card or bank account number); Telephone or instrument number (including IMEI, IMSI,
UFMI, and ESN) and/or other customer/subscriber number(s) used to identify
customer/subscriber, including any temporarily assigned network address (including internet
Protocol addresses); Types of service used (e.g. push-to-talk, text, three-way calling, email
services, cloud computing, gaming services, etc.) whichmayberelevanttoanauthorizedlawenfbrcementinquiry,
involving the following:
561-978-6819
Please see the attached page explaining some terms that may be used in this demand. All time values are in the US/Eastem time zone, unless
otherwise indicated.
THE INFORMATION SOUGHT THROUGH THIS SUBPOENA RELATES TO A FEDERAL CRIMINAL INVESTIGATION
BEING CONDUCTED BY THE FBI.
YOUR COMPANY IS REQUIRED TO FURNISH THIS INFORMATION,
YOU ARE REQUESTED NOT TO DISCLOSE THE EXISTENCE OF THIS SUBPOENA INDEFINITELY AS ANY SUCH
DISCLOSURE COULD INTERFERE WITH AN ONGOING INVESTIGATION AND ENFORCEMENT OF THE LAW.
Compliance must be made by personal appearance or production of records no later than the 19 th day of May, 2024 at 09:00
o'clock AM, at 2030 SW 145th Avenue, Miramar, FL 33027.
In lieu of a personal appearance, the information can be provided, via email, marked to the attention of Matthew Lanthorn, at the
following email:                                                                       FgP.
If you refuse to obey this subpoena, the United States Attorney General may invoke the aid of a United States District Court to compel
compliance. Your failure to obey the resulting court order may be punished as contempt
                                        Issued under authority of Sec. 506 of the Comprehensive Drug
                                     Abuse Prevention and Control Act of 1970, Public Law No. 91-513
                                                               (21 U.S.C. 876)
                                                                 ORIGINAL
                                                                        Signature; S/ Brendan Collins




                                                                    Name: Brendan Collins
                                                                    Title: Supervisory Special Agent
                                                                    Issued this 19th day of April, 2024
                                                            UNCLASSIFIED
__ Apr. 22. 2024J2:36PM_                         UNCLASSIFIED                           No. 1 500_P. 2/5
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    nnmber(s):
                                                                                Subpoena number: 957324
245K-MM-113449-AdmmSubpoenas
                                     CERTIFICATE OF SUBPOENA
                             (Pursuant to Public Law No. 513,91st Cong., 2nd Session)
                                                  (21 U.S.C. 876)
                                                   I handed an attested copy thereof to an officer or agent of the company
                                                   authorized to receive service of process.
HOW                                                I provided via facsimile an attested copy thereof to an officer or agent of
SUBPOENA                                           the company authorized to receive service of process.
WAS
SERVED
                                                   I mailed an attested copy thereof to an officer or agent of the company
                                                   authorized to receive service of process.
(Check One)
                                                   Signature on page one indicates that this subpoena was served
                                                   electronically on the referenced date.
DATE SUBPOENA SERVEDfDay, Month, Year)                 TIME



SIGNATURE                                             TITLE




                                               UNCLASSIFIED
__ Apr. 22. 2024^12:36PM___            UNCLASSIFIED                  No. 1 500_P. 3/5.
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     numbers):
                                                                                                                         Subpoena number: 957324
245K-MM-113449-AdniinSubpQena3
(a) Authorization of use by Attorney General
In any investigation relating to his functions under this subchapter with respect to controlled substances, listed chemicals, tableting machines, or encapsulating machines, the
Attorney General may subpoena witnesses, compel the attendance and testimony of witnesses, and require the production of any records (including books, papers, documents,
and other tangible things which constitute or contain evidence) which the Attorney General finds relevant or material to the investigation. The attendance of witnesses and the
production of records may be required fiom any place in any State or in any territory or other place subject to the jurisdiction of the United States at any designated place of
hearing; except that a witness shall not be required to appear at any hearing more than 500 miles distant from the place where he was served with a subpoena. Witnesses
summoned under this section shall be paid the same fees and mileage that are paid witnesses in the courts of the United Slates.
(b) Sendee
A subpoena issued under this section may be served by any person designated in the subpoena to serve it. Service upon a natural person may be made by personal delivery of
the subpoena to him Service may be made upon a domestic or foreign corporation or upon a partnership or other unincorporated association which is subject to suit under a
common name, by delivering the subpoena to an officer, to a managing or general agent, or to any other agent authorized by appointment or by law to receive service of
process. The affidavit of the person serving the subpoena entered on a true copy thereof by the person serving it shall be proof of service.
(e) Enforcement
In the case of contumacy by or refusal to obey a subpoena issued to any person, the Attorney General may invoke the aid of any court of the United States within the
jurisdiction of which the investigation is carried on or of which the subpoenaed person is an inhabitant, or in which he carries on business or may be found, to compel
compliance with the subpoena. The court may issue an order requiring the subpoenaed person to appear before the Attorney General to produce records, if so ordered, or to
give testimony touching the matter under investigation. Any failure to obey the order of the court may be punished by the court as a contempt thereof. All process in any such
casemay be scrycdm any judicial district in which such person may be found.
                                                                            UNCLASSIFIED
__ Apr. 22. 2024_12:36PM.                                      UNCLASSIFIED                                    No. 1 500_P. 4/5.
    Case 1:19-cr-20674-DPG Document 933 Entered on FLSD
                                             Subpoena     Docket
                                                      number:     05/17/2024 Page 11 of 15
                                                              957324

TERMINOLOGY

IMPORTANT NOTE This part is not a demand but an explanation of some terms used in the subpoena and some
suggestions to help with compliance. The actual information demanded by this subpoena is set forth on the front of the
subpoena or in Attachment A, if so indicated on the first page. The terms explained here may or may not be part of the
information demanded.

> If the subpoena makes a demand for "local and long distance connection records, or records of session times and durations" for
telephone or cell phone service, that means to include the following records if your company maintains these records—

    " Incoming and outgoing local, regional, long distance, international, wholesale, cellular, paging, toll free, and
      prepaid connection records;
    * Credit card calls (including, but not limited to, calls made through major credit card companies); and
    * Alternate billed number calls (calls billed to third parties, collect calls, and calling card calls for calls through
      cards issued by the communications carrier originating from the foregoing telephone numbers) or terminating
      at the foregoing telephone numbers(s)).

> If the subpoena makes a demand for "length of service/' include the start date and the close date if the account closed.

> If the subpoena makes a demand for customer or subscriber address, include both the postal address and physical address, if known.

> If the subpoena makes a demand for "means and source of payment" that means—
    • Method of payment to initiate and maintain service; and
    • Any available identification numbers for method of payment, including credit card numbers or prepaid calling
      card numbers.

> We are not directing that you provide, and you should not provide, information pursuant to this subpoena
that would disclose the content of any wire communication. That means you should not disclose "any information
concerning the substance, purport, or meaning of a communication, as defined in Title 18 United States Code,
Section 2510(8). Subject lines of e-mails are content information and should not be provided in response to this
subpoena.

> If tire records provided are particularly large we request that you provide this information in electronic format
preferably on a CD-ROM.
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. . Apr. 22. 2024i,12:36PMii                                                      No. 1500—
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                                                                       " SUBPOENA COMPLIANCE (CRIMINAL)                     |'
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